                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             ST. JOSEPH DIVISION

 UNITED STATES OF AMERICA,                  UNDER SEAL

                      Plaintiff,            Case No. 5:20-cr-06007-DGK

        v.                                  COUNT ONE:
                                            Conspiracy to Advertise Child Pornography
 JOSHUA HOWLAND, (01)                       18 U.S.C. § 2251(d) and (e)
 [DOB: 01/09/1978],                         NLT: 15 Years Imprisonment
                                            NMT: 30 Years Imprisonment
 THOMAS DAVIS MOORE JR., (02)               NMT: $250,000 Fine
 [DOB: 11/30/1958],                         Supervised Release: 5 Years to Life
                                            Class B Felony
 RYAN NEAL MONTGOMERY, (03)
 [DOB: 06/17/1980],                         COUNT TWO:
                                            Conspiracy to Distribute and Receive
 JOHN JASON VAILS, (04)                     Child Pornography
 [DOB: 03/23/1971],                         18 U.S.C. § 2252A(a)(2) and (b)(1)
                                            NLT: 5 Years Imprisonment
                      Defendants.           NMT: 20 Years Imprisonment
                                            NMT: $250,000 Fine
                                            Supervised Release: 5 Years to Life
                                            Class C Felony

                                            Forfeiture Allegation

                                            $100 Mandatory Special Assessment
                                            Each Count



                        SECOND SUPERSEDING INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                       COUNT ONE

       Between in or about June 2019 and in or about July 2020, the dates being approximate, in

the Western District of Missouri and elsewhere, JOSHUA HOWLAND, THOMAS DAVIS

MOORE, JR., RYAN NEAL MONTGOMERY, and JOHN JASON VAILS, defendants herein,

did knowingly conspire with each other and others known and unknown to the Grand Jury to make,



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print, and publish, and to cause to be made, printed, and published, by means of an internet website

whose common name is known to the Grand Jury and is referred to herein as “Website A,” any

notice and advertisement seeking and offering to receive, exchange, buy, produce, display,

distribute, and reproduce any visual depiction, the production of which visual depiction involved

the use of a minor engaged in sexually explicit conduct and such visual depiction was of such

conduct, knowing and having reason to know that such notice and advertisement would be

transported and transmitted using any means and facility of interstate and foreign commerce and

in and affecting interstate and foreign commerce by any means including by computer, and which

notice and advertisement was transported and transmitted using any means and facility of interstate

and foreign commerce and in and affecting interstate and foreign commerce by any means

including by computer, in violation of Title 18, United States Code, Section 2251(d) and (e).

                                         COUNT TWO

       Between in or about June 2019 and in or about July 2020, the dates being approximate, in

the Western District of Missouri and elsewhere, JOSHUA HOWLAND, THOMAS DAVIS

MOORE, JR., RYAN NEAL MONTGOMERY, and JOHN JASON VAILS, defendants herein,

did knowingly conspire with each other and others known and unknown to the Grand Jury to

distribute and receive child pornography, by means of an internet website whose common name is

known to the Grand Jury and is referred to herein as “Website A,” using any means and facility of

interstate and foreign commerce in violation of Title 18, United States Code, Section 2252A(a)(2)

and (b)(1).




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                                FORFEITURE ALLEGATION

       The allegations contained in Counts One and Two are realleged and are incorporated by

reference herein for the purpose of alleging forfeiture of: any visual depiction described in Title

18, United States Code, Sections 2251 or 2252A, or any film, videotape, or other matter which

contains any such visual depiction, which was produced, transported, mailed, shipped, or received

in violation of these sections; any property, real or personal, constituting or traceable to gross

profits or other proceeds obtained from such offenses; and any property, real or personal, used or

intended to be used to commit or to promote the commission of such offenses; including, but not

limited to the following:

   •   For defendant JOSHUA HOWLAND:

           o One black Lenovo laptop, model 81Q6, S/N: PF1DY3UA, with charger and USB

               plugin; and

           o One custom-built desktop tower, ABS Essential Meteor ALI206, identifying no.:

               1057503109.

   •   For defendant THOMAS DAVIS MOORE, JR.:

           o One LG Tablet G Pad X 8.0, S/N: 704CQRN167790;

           o One Asus Computer Tower, S/N: 091317517804;

           o One Motorola XT 2041-6 mobile phone, S/N: ZY227P2T5Y; and

           o One LG GSM phone, SN: 703KPPB093984.

   •   For defendant RYAN NEAL MONTGOMERY:

           o One HP laptop, S/N 5CD70713KR.

   •   For defendant JOHN JASON VAILS:


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           o One Lenovo ThinkCentre M73 mini desktop, S/N: MJ03GH4F, containing one

               750GB Toshiba SATA hard drive, model number MQ01ABD075, S/N:

               Z3FACG1XTYN7;

           o One Seagate Barracuda 500GB hard disk, model number ST3500413AS, S/N:

               Z2A62P1A;

           o One 64GB SanDisk USB drive, S/N: SDCZ60-064G; and

           o One 16GB SanDisk USB drive, S/N: SDCZ60-016G.

        All in violation of Title 18, United States Code, Section 2253.



                                              TRUE BILL.


                                              /s/ Pamela Carter-Smith
                                              FOREPERSON OF THE GRAND JURY



/s/ Alison Dunning
Alison Dunning
David Luna
Assistant United States Attorneys

Kyle P. Reynolds
Trial Attorney
U.S. Department of Justice, Criminal Division
Child Exploitation and Obscenity Section



Date:           3/17/2021
         Kansas City, Missouri




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